Case 2:16-cv-00014-JAW Document 28 Filed 10/24/16 Page 1 of 2                        PageID #: 164




                            UNITED STATES DISTRICT COURT
                                    District of Maine

                                                    )
 SHANE NOONAN, Individually and as                  )    Docket No. 2:16-cv-00014-JAW
 Personal Representative of the Estate of           )
 Jeffrey A. Noonan,                                 )
                        Plaintiff                   )
                                                    )
 v.                                                 )
                                                    )
 YORK COUNTY, MAURICE OUELLETTE,                    )
 JAY BONDAR, STEPHEN KURTZ,                         )
 MICHAEL LEARY, COREY WAKEFIELD,                    )
 EMILY ANGER, CORRECT CARE                          )
 SOLUTIONS, LLC, GEORGE                             )
 STOCKWELL, D.O, SARAH MAYNARD,                     )
 LVN, and ANGELA TANNER, LVN,                       )
                   Defendants                       )
                                                    )

      JOINT MOTION FOR ENTRY OF JUDGMENT ON THE MERITS IN FAVOR OF
                        DEFENDANT YORK COUNTY

        NOW COME the parties, who jointly move the Court to enter judgment on the merits in

favor of Defendant York County.

        In support of this motion, the parties state that a comprehensive settlement agreement has

been reached in this case, one facet of which is the entry of judgment on the merits in favor of the

Defendant York County. This Defendant has agreed not to pursue recovery of costs or attorneys

fees.

        For the foregoing reasons, the parties jointly request that the Court grant the instant motion

and enter judgment on the merits in favor of Defendant York County.

Dated: October 24, 2016                                  /s/ Peter T. Marchesi
                                                        Peter T. Marchesi, Esq.
                                                        Attorney for York County Defendants
                                                        Wheeler & Arey, P.A.
                                                        27 Temple Street, P.O. Box 376
                                                        Waterville, ME 04903-0376
Case 2:16-cv-00014-JAW Document 28 Filed 10/24/16 Page 2 of 2                    PageID #: 165




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                        Plaintiff                 )
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 YORK COUNTY, MAURICE OUELLETTE,                  )
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 STOCKWELL, D.O, SARAH MAYNARD,                   )
 LVN, and ANGELA TANNER, LVN,                     )
                   Defendants                     )
                                                  )


                                CERTIFICATE OF SERVICE


       I, Peter T. Marchesi, Esq., attorney for the York County Defendants, hereby certify that:

       !      Joint Motion for Entry of Judgment on the Merits in Favor of Defendant York
              County

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              Celine M. Boyle, Esq.          cboyle@shaheengordon.com
              Courtney M. Hart, Esq.         cmichaelc@shaheengordon.com
              Robert Hatch, Esq.             rhatch@thompsonbowie.com


Dated: October 24, 2016                                /s/ Peter T. Marchesi
                                                      Peter T. Marchesi, Esq.
                                                      Attorney for York County Defendants
                                                      Wheeler & Arey, P.A.
                                                      27 Temple Street, P.O. Box 376
                                                      Waterville, ME 04903-0376
